
McKinney, J.,
delivered the opinion of the Court.
This was a motion for judgment, before a justice, by Allen, for money paid “as endorser” of the defendant. The justice rendered judgment for the plaintiff for $90.54, from which there was an appeal.
In the Circuit Court, the defendant entered a motion to quash the justice’s judgment, which, on argument, was made absolute, and the case dismissed.
In this the Court erred. The judgment of the justice is obviously defective in not showing that the plaintiff was an accommodation endorser of the defendant; as it is only in favor of an accommodation endorser that the motion is given by the act of 1856, ch. 75.
But whether the justice’s judgment was sufficient, either as regards its form or substance, was not the question for the Court on the appeal.
*438The ease was before the Court not for revision, as on a writ of error, but for trial de novo on the merits; and, regardless of the defects in the justice’s judgment, the Court should have proceeded to hear the case, and render judgment according to the merits.
The judgment will be reversed, and the case be remanded for hearing on the proof.
